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12
13
                                    UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
16     UNITED STATES OF AMERICA,                          Case No. CR 25-0003 YGR (KAW)
17                                      Plaintiff,        STIPULATION AND ORDER TO
                 vs.                                      TEMPORARILY MODIFY
18                                                        CONDITIONS OF RELEASE
       DAVID DUONG,
19
                                        Defendant.
20
21
22          Defendant David Duong and the United States hereby stipulate and agree as follows:
23          1)         Mr. Duong made his initial appearance on January 17, 2025. The Court set
24   conditions of release, including that Mr. Duong not travel outside the Northern and Eastern
25   Districts of California.
26          2)         The parties stipulate and agree that those conditions should be temporarily
27   modified to permit Mr. Duong to travel to Florida from April 10 to April 13, 2025.
28   ///
            Case 4:25-cr-00003-YGR           Document 60            Filed 04/09/25      Page 2 of 2




 1          3)      Pretrial Services Officer Vanessa Vargas has no objection to the proposed travel.
 2          IT IS SO STIPULATED.
 3
 4   Dated: March 25, 2025                                      /s/
                                                           August Gugelmann
 5                                                         SWANSON & McNAMARA LLP
                                                           Attorneys for David Duong
 6
 7                                                              /s/
                                                           Abraham Fine
 8                                                         Assistant United States Attorney
 9
10
11
12
13                                              ORDER
14          Pursuant to stipulation, Mr. Duong’s conditions of release are temporarily modified to
15   permit travel to Florida from April 10 to April 13, 2025.
16          IT IS SO ORDERED.
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                                                                         S DISTRICT
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             April 9, 2025
     Dated: _______________                                          T
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24                                                           DONNA M. RYU
                                                             Chief Magistrate Judge for
25                                                           Kandis A. Westmore
                                                             United States Magistrate Court
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27
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                                                      2
                             Stipulation and Order to Modify Conditions of Release
                                 United States v. Duong, CR 25-0003 YGR (KAW)
